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                     IN THE UNITED STATES DISTRICT COURT
                IN AND FOR THE EASTERN DISTRICT OF NEW YORK

 SEMYON GRINBLAT, individually and on                         COMPLAINT
 behalf of all others similarly situated,

                                     Plaintiff,

                   -against-                              CASE NO.: 20-cv-1641

 HYLAN BACHE LLC, JOSEPH A.
 COSTA, LOUIS C. COSTA, ANTHONY                            JURY DEMANDED
 R. COSTA, JOHN DOE 1-X, persons yet
 unknown, Limited Liability Companies,
 Partnerships, Corporations 1-X, entities
 yet unknown,

                                  Defendants.


                                    CIVIL COMPLAINT


       SEMYON GRINBLAT (the “Plaintiff”), as and for his complaint against HYLAN BACHE

LLC, JOSEPH A. COSTA, LOUIS C. COSTA, and ANTHONY R. COSTA, JOHN DOE 1-X,

persons yet unknown, Limited Liability Companies, Partnerships, Corporations 1-X, entities yet

unknown (the “Defendants”), respectfully brings before the Court the below allegations.




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                      STATEMENT OF THE PLAINTIFF’S CLAIMS

   1. This is an action under Title III of the Americans with Disabilities Act of 1990 (the “ADA”)

      to enjoin unlawful discrimination based on disability. The Plaintiff was discriminated

      against on the basis of disability and was denied full and equal enjoyment of the goods,

      services, facilities, privileges, advantages, or accommodations of the place of public

      accommodation owned, leased, controlled, managed, or operated, by the Defendants.

   2. The Plaintiff files this action for himself, and those similarly situated, complaining of the

      violations of Title III of the ADA. This action is brought under ADA 42 U.S.C. §12182,

      §12183 and §12188(a) – incorporating by reference the remedies and procedures found in

      42 U.S.C. §2000a-3, §204 of the Civil Rights Act of 1964 – the ADA’s Accessibility

      Guidelines, 28 C.F.R. Part 36, subpart D, the 2004 ADA Accessibility Guidelines

      (“ADAAG”) at 36 C.F.R. Part 1191, appendices B and D, the 2010 ADA Standards for

      Accessible Design (“2010 Standards”), the Building Code of the State of New York, as

      well as New York State Civil Rights Law §40-c and §40-d, New York State Human Rights

      Law §296 and New York City Human Rights Law [Administrative Code] §8-107.


                               JURISDICTION AND VENUE


   3. This Court has jurisdiction over this action pursuant to 28 U.S.C. §451, §1331, §1337,

      §1343, §2201, §2202 and 42 U.S.C.A. §12181, et seq., as it involves federal questions

      regarding the deprivation of the Plaintiff’s rights under the ADA.

   4. This Court has supplemental jurisdiction over the Plaintiff’s allegations arising from the

      Defendants’ state law violations pursuant to 28 U.S.C. §1367(a).




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   5. Venue is proper in this district pursuant to 28 U.S.C. §1391(b), because all events, or

      omissions, giving rise to this action, and alleged herein, occurred in this district. Venue is

      also proper in this district, because the Defendants’ property, a public accommodation,

      which is the subject of this action, is located in, and does business within, this judicial

      district.


                                           PARTIES

   6. The Plaintiff is a resident of Monmouth County, New Jersey.

   7. The Plaintiff has been a resident of Monmouth County, New Jersey, at all times material

      to this litigation.

   8. The Plaintiff is a qualified individual with a disability within the meaning of 42 U.S.C.

      §12131, who is expressly authorized to bring this action under §308 of the ADA, 42 U.S.C.

      §12188(a) — incorporating by reference the remedies and procedures found in 42 U.S.C.

      §2000a-3, §204 of the Civil Rights Act of 1964.

   9. The Defendants own, and/or lease (or lease to), and/or have control over, and/or manage,

      and/or maintain, and/or designed, and/or built, and/or constructed, and/or altered, and/or

      operate, and at all relevant times operated, the franchised restaurant Dunkin’ Donuts

      #300645 (“Dunkin’ Donuts”) and the parking lot adjacent to it, which is provided for the

      use of the restaurant’s customers.

   10. The aforementioned restaurant, Dunkin’ Donuts, and the adjacent parking lot (collectively,

      the “Subject Facility”) are the subjects of this lawsuit.

   11. The Subject Facility is located at 2425 Hylan Blvd, Staten Island, NY 10306.

   12. Upon information and belief, HYLAN BACHE LLC owns, and/or leases, and/or manages,

      and/or maintains, and/or has control over, and/or designed, and/or built, and/or constructed,



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      and/or altered, and/or marked, and/or placed signs on, and/or operates, and at all relevant

      times operated, the franchised restaurant under the name of Dunkin’ Donuts.

   13. Upon information and belief, HYLAN BACHE LLC owns, and/or leases, and/or manages,

      and/or maintains, and/or has control over, and/or designed, and/or built, and/or constructed,

      and/or altered, and/or marked, and/or placed signs on, and/or operates, and at all relevant

      times operated, the parking lot adjacent to the franchised restaurant Dunkin’ Donuts, which

      is provided for the exclusive use of its customers.

   14. HYLAN BACHE LLC is a domestic for-profit corporation organized under the laws of

      New York State.

   15. HYLAN BACHE LLC is licensed to conduct business in New York State by the New York

      State Department of State (“NYS DOS”).

   16. NYS DOS maintains entity information for HYLAN BACHE LLC in its Corporation and

      Business Entity Database.

   17. The corporate record for HYLAN BACHE LLC shows no registered agent.

   18. The address to which NYS DOS mails process, when accepted on behalf of HYLAN

      BACHE LLC, is Anton Nader, PO Box 560, Edison, NJ 08818.

   19. The Office of the Richmond County Clerk maintains a deed record showing that the

      commercial lot, on which the Subject Facility is located, is owned by JOSEPH A. COSTA,

      LOUIS C. COSTA, and ANTHONY R. COSTA as tenants in common.

   20. JOSEPH A. COSTA is an individual residing in the State of New York.

   21. JOSEPH A. COSTA’s address is 35 Thollen Street, Staten Island, NY 10306.

   22. Upon information and belief, JOSEPH A. COSTA owns the Subject Facility.




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   23. Upon information and belief, JOSEPH A. COSTA manages, and/or maintains, and/or has

      control over, and/or designed, and/or built, and/or constructed, and/or altered, and/or

      marked, and/or placed signs on, and/or operates, and at all relevant times operated, the

      parking lot adjacent to the restaurant Dunkin’ Donuts.

   24. Upon information and belief, JOSEPH A. COSTA leases the Subject Facility to HYLAN

      BACHE LLC.

   25. LOUIS C. COSTA is an individual residing in the State of New York.

   26. LOUIS C. COSTA’s address is 2718 Avenue N, Brooklyn, NY 11210.

   27. Upon information and belief, LOUIS C. COSTA owns, and/or leases, the parking lot of the

      Subject Facility.

   28. Upon information and belief, LOUIS C. COSTA manages, and/or maintains, and/or has

      control over, and/or designed, and/or built, and/or constructed, and/or altered, and/or

      marked, and/or placed signs on, and/or operates, and at all relevant times operated, the

      parking lot adjacent to the restaurant Dunkin’ Donuts.

   29. LOUIS C. COSTA, at all relevant times was, and currently is, either an owner, landlord,

      and/or lessor of the commercial lot, on which the Subject Facility is located.

   30. Upon information and belief, LOUIS C. COSTA leases the Subject Facility to HYLAN

      BACHE LLC.

   31. ANTHONY R. COSTA is an individual residing in the State of New York.

   32. ANTHONY R. COSTA’s address is 46 Forest Road, Staten Island, NY 10304.

   33. Upon information and belief, ANTHONY R. COSTA owns, and/or leases, the parking lot

      of the Subject Facility.




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   34. Upon information and belief, ANTHONY R. COSTA manages, and/or maintains, and/or

      has control over, and/or designed, and/or built, and/or constructed, and/or altered, and/or

      marked, and/or placed signs on, and/or operates, and at all relevant times operated, the

      parking lot adjacent to the restaurant Dunkin’ Donuts.

   35. ANTHONY R. COSTA, at all relevant times was, and currently is, either an owner,

      landlord, and/or lessor of the commercial lot, on which the Subject Facility is located.

   36. Upon information and belief, ANTHONY R. COSTA leases the Subject Facility to

      HYLAN BACHE LLC.

   37. The Subject Facility is a public accommodation within the meaning of Title III of the ADA,

      42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104 Place of public accommodation (2), the

      New York State Human Rights Law §292(9) and the New York City Human Rights Law,

      Admin. Code of the City of New York, §8-107(4).

   38. Defendants JOHN DOE 1-X and Limited Liability Companies, Partnerships and

      Corporations 1-X are persons or entities yet unknown, but who or which might share

      liability as owners or tenants of the Subject Facility. At all relevant times they might have

      been, and currently might be, either owners, lessors, or operators of the commercial real

      estate lot in Richmond County, on which the Subject Facility is located, and of the building

      in which it operates. Either one or several of them might be a landlord and lease its/their

      building and land, on which the parking lot of the Subject Facility is located, to the

      defendant HYLAN BACHE LLC.

   39. The Plaintiff reserves the right to amend this Complaint to add such persons or entities as

      Defendants when discovered during the course of this action.




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   40. Either one, or all, of the Defendants, jointly, or severally, simultaneously, or at different

      times, at all relevant times, was an owner, and/or landlord, and/or lessor, and/or lessee,

      and/or tenant, of the commercial lot in Richmond County, on which the Subject Facility is

      located, who jointly, or severally, owned, and/or leased, and/or managed, and/or had

      control over, and/or designed, and/or constructed, and/or built, and/or altered, and/or

      modified, and/or painted, and/or marked, and/or placed signs on, and/or operated, and/or

      maintained, the parking lot adjacent to the restaurant, Dunkin’ Donuts, which is provided

      for the purpose of enabling customers of the restaurant to park at and visit the Subject

      Facility.

   41. Either one of the Defendants, or all of them, jointly or severally, simultaneously, or at

      different times, at all relevant times, was an owner, and/or landlord, and/or lessor, and/or

      lessee, and/or tenant, and/or managed, and/or had control over, and/or operated, and/or

      designed, and/or constructed, and/or built, and/or painted, and/or marked, and/or placed

      signs on, and/or maintained, and/or altered the building, and/or the restaurant, Dunkin’

      Donuts, which is part of the Subject Facility.

   42. The Defendants are jointly and severally liable for the design, construction, maintenance,

      management, control, alteration and/or operation of the parking lot, which is part of the

      Subject Facility.

   43. The Defendants are jointly and severally liable for the design, construction, maintenance,

      management, control, alteration and/or operation of the restaurant, Dunkin' Donuts, which

      is part of the Subject Facility.




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                                        CLASS ACTION


   44. The Plaintiff brings this suit for declaratory and injunctive relief, and as a class action, on

      behalf of all those similarly situated, who, as persons who must use a wheelchair by reason

      of various disabilities, and who use or desire to use the services and accommodations

      offered to the public by the Defendants, are protected by, and are beneficiaries of, the ADA,

      the New York State Civil Rights Laws, and the New York State and City Human Rights

      Laws.

   45. The Plaintiff, complaining for himself, and all other similarly situated disabled individuals

      in the City and State of New York, hereby alleges the following:

          a. The class is so numerous that joinder of all members, whether otherwise required

              or permitted, is impracticable;

          b. There are questions of law or fact common to the class, which predominate over

              any questions affecting only individual members;

          c. The claims or defenses of the representative party are typical of the claims or

              defenses of the class;

          d. The representative party will fairly and adequately protect the interests of the class;

              and

          e. A class action is superior to other available methods for the fair and efficient

              adjudication of the controversy.

   46. The claims of the Plaintiff are typical of those of the class. The class, similarly to the

      Plaintiff, was also not able to have access to the Subject Facility because of the architectural

      barriers.




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   47. The Plaintiff will fairly and adequately represent and protect the interests of the members

      of the class, because, in accordance with Fed. R. Civ. P. 23(g), he has retained, and is

      represented by, an experienced counsel, who has done the work in identifying and

      investigating potential claims in the action, who knows the applicable law, who may

      commit resources to representing the class, who would represent the Plaintiff in complex

      class action litigation, and because the Plaintiff has no interests antagonistic to the members

      of the class.

   48. A class action may be maintained under Fed. R. Civ. P. 23(a), which is satisfied, as

      prosecuting separate actions by, or against, individual class members would create a risk

      of adjudications with respect to them that, as a practical matter, would be dispositive of the

      interests of the other members, not parties to the individual adjudications, or would

      substantially impair, or impede, their ability to protect their interests. That risk includes,

      but is not limited to, the Defendants removing the architectural barriers without either

      compensating members of the class, or paying them compensatory, and/or statutory, and/or

      punitive damages, for discrimination, discomfort, personal injuries, pain of body and mind,

      emotional distress, inconvenience and humiliation, which the class members have suffered

      as a result of the Defendants’ actions, which violated the ADA, the New York State Civil

      Rights laws, the New York State Human Rights laws, and the New York City Human

      Rights laws.

   49. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2), because

      the Defendants had acted, or refused to act, on grounds that apply generally to the class, so

      that final injunctive relief, or corresponding declaratory relief, is appropriate respecting the

      class as a whole.



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    50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3), because

       questions of law, or fact, common to class members, clearly predominate over any

       questions affecting only individual class members, and because a class action is superior

       to other available methods for the fair and efficient adjudication of this litigation.

    51. Judicial economy would be served by allowing the matter to proceed as a class action in

       that it would likely avoid the burden that would be otherwise placed upon the judicial

       system by the filing numerous similar suits by people who use a wheelchair in the Eastern

       District of New York.

    52. Clarity, consistency and uniformity in law would also be preserved, as maintenance of this

       lawsuit as a class action would likely eliminate the possibility of inconsistent verdicts,

       which may be issued, if plaintiffs were to initiate individual lawsuits against the

       Defendants.

    53. References to the Plaintiff shall be deemed to include the named Plaintiff and each member

       of the class, unless otherwise indicated.



                                    STATUTORY SCHEME

    54. On July 26, 1990, the United States Congress enacted the ADA, establishing important

       civil rights for individuals with disabilities, including the right to full and equal enjoyment

       of goods, services, facilities, privileges and access to places of public accommodation.

    55. Congress made the following findings:

                      a. Some 43,000,000 Americans have one or more physical
                         or mental disabilities, and this number is increasing as
                         the population as a whole is growing older;
                      b. Historically, society has tended to isolate and segregate
                         individuals with disabilities, and, despite some
                         improvements, such forms of discrimination against


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                         individuals with disabilities continue to be a serious and
                         pervasive social problem;
                      c. Discrimination against individuals with disabilities
                         persists in such critical areas as employment, housing,
                         public accommodation, education, transportation,
                         communication, recreation, institutionalization, health
                         services, voting and access to public services;
                      d. Individuals with disabilities continually encounter
                         various forms of discrimination, including outright
                         intentional exclusion, the discriminatory effects of
                         architectural, transportation, and communication
                         barriers, overprotective rules and policies, failure to
                         make modifications to existing facilities and practices,
                         exclusionary qualification standards and criteria,
                         segregation, and regulation to lesser services, programs,
                         activities, benefits, jobs or other opportunities; and
                      e. The continuing existence of unfair and unnecessary
                         discrimination and prejudice denies people with
                         disabilities the opportunity to compete on an equal basis
                         and to pursue those opportunities for which our free
                         society is justifiably famous, and costs the United States
                         billions of dollars in unnecessary expenses resulting
                         from dependency and non-productivity.


       42 U.S.C. §12101(a)(1)-(3), (5) and (8)

    56. Furthermore, Congress also explicitly stated that the ADA had to:

                      a. Provide a clear and comprehensive national mandate for
                         the elimination of discrimination against individuals
                         with disabilities;
                      b. Provide clear, strong, consistent, enforceable standards
                         addressing discrimination against individuals with
                         disabilities; and
                      c. Invoke the sweep of congressional authority, including
                         the power to enforce the fourteenth amendment and to
                         regulate commerce, in order to address the major areas
                         of discrimination faced day-to-day by people with
                         disabilities.


       42 U.S.C. §12101(b)(1)(2) and (4)




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    57. Furthermore, pursuant to 42 U.S.C. §12182 and 28 C.F.R. §36.201(a), the congressional

        intent was to ensure that no place of public accommodation may discriminate against an

        individual on the basis of such individual’s disability, with regard to the full and equal

        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations at

        that place of public accommodation.

    58. Congress provided commercial businesses at least 18 months from enactment to make their

        facilities compliant with the regulations in the ADA. The effective date of Title III of the

        ADA was January 26, 1992, or January 26, 1993, if a defendant has ten (10), or fewer,

        employees and gross receipts of $500,000, or less. 42 U.S.C. §12183; 28 C.F.R.

        §36.508(a).

    59. The 2000 United States census indicates that in the civilian non-institutionalized population

        more than 49.7 million people in the United States have a disability. The census also

        indicates that more than 1.39 million New Yorkers have a mobility disability.

    60. ADA 42 U.S.C. §12182(a), the New York State Civil Rights laws, the New York State

        Human Rights laws, and the New York City Human Rights laws recognize individuals

        with disabilities as a protected class.

    61. It is unlawful for a private entity, which owns, leases, leases to, or operates a place of public

        accommodation, to discriminate against an individual with a disability. 42 U.S.C.

        §12182(b)(1)(A), 28 C.F.R. §36.201(a) and (b).

    62. Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

        Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

        requirements of the ADA, known as the ADAAG, 28 C.F.R. §36, under which it may




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       obtain civil penalties of up to $110,000 for the first violation and $150,000 for any

       subsequent violation.

    63. The landlord, who owns the building that houses a place of public accommodation and the

       tenant, who owns, or operates the place of public accommodation, have a non-delegable

       duty to comply with the ADA, 28 C.F.R. §36.201(a) and (b), the New York State Civil

       Rights laws, and the New York State and City Human Rights laws.

    64. The Subject Facility affects interstate commerce within the meaning of the ADA, 42 U.S.C.

       §12181(7)(B), and 28 C.F.R. §36.104 Place of public accommodation (2).

    65. Regardless of any contractual provisions stating otherwise, the landlord and owner of the

       property, which houses the public accommodation, cannot escape liability for the tenant’s

       failure to comply with the ADA, 28 C.F.R. §36.201, the New York State Civil Rights laws,

       and the New York State and City Human Rights laws.

    66. Discriminatory intent is not required to establish liability under the ADA, the New York

       State Civil Rights Laws, and the New York State and City Human Rights laws.

    67. One type of disability discrimination is the failure of an owner, or an operator, of a public

       accommodation to remove those architectural barriers, removal of which is readily

       achievable.

                       A public accommodation shall remove architectural barriers
                       in existing facilities, including communication barriers that
                       are structural in nature, where such removal is readily
                       achievable, i.e., easily accomplishable and able to be carried
                       out without much difficulty or expense.

       28 C.F.R. §36.304




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    68. If an individual with a disability is dissuaded from entering, or receiving services of a place

       of public accommodation, because of the existence of an architectural barrier, the landlord

       and tenant are subject to criminal liability for discrimination on the basis of disability.

    69. The Defendants must remove all barriers, removal of which is readily achievable, that deny

       an individual with a disability the opportunity to participate in, or benefit from, services,

       or accommodations, on the basis of their disability, 28 C.F.R. §36.304.

    70. Removal of the architectural barriers is readily achievable by the Defendants.

       The Plaintiff is informed and believes, and therefore alleges, that the Subject Facility has

       begun operations, and/or undergone substantial remodeling, repairs and/or alterations,

       since January 26, 1990, and/or has sufficient income to make readily achievable

       accessibility modifications.

               FACTUAL ALLEGATIONS AND FIRST CAUSE OF ACTION

                                    The Plaintiff’s Background

    71. The Plaintiff, who was born in 1949, is an elderly man aged well beyond his years. He

       suffers from debilitating diseases and was diagnosed with a neurological condition that

       affects his walking. The Plaintiff’s treating neurologist determined that he has gait

       dysfunction, the causes of which include peripheral neuropathy due to diabetes mellitus,

       chronic right basilar ganglia lacunar infarct and cerebellar ataxia. The Plaintiff’s treating

       neurologist also determined that he has essential tremor. Furthermore, the Plaintiff has

       decreased vision due to glaucoma and is blind in the right eye. The Plaintiff’s gait is

       unsteady and he falls when he walks short distances. His treating neurologist prescribed

       him a wheelchair and a handicapped parking placard. The Plaintiff obtained the wheelchair

       and uses it regularly. The New Jersey Motor Vehicle Commission issued him a disability



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       parking placard together with a disability identification card. The disability placard can be

       used in any car, in which the Plaintiff is travelling. The Plaintiff relies on his wheelchair

       and parks appropriately in handicapped accessible parking spaces. He also needs

       appropriate and statutorily mandated access aisle next to that car, so that he may transfer

       from the car to the wheelchair. The Plaintiff is “disabled” under the statute, which in

       pertinent part states:

                       Disability means, with respect to an individual, a physical or
                       mental impairment that substantially limits one or more of
                       the major life activities of such individual…. The phrase
                       major life activities means functions such as caring for one’s
                       self, performing manual tasks, walking, seeing, hearing,
                       speaking, breathing, learning and working.

               28 C.F.R. §36.104 (italics in original).

    72. The Plaintiff must rely on his adult son for the management of his day-to-day care. The

       son helps the Plaintiff to get to places the Plaintiff wants to visit, such as medical facilities,

       doctors, pharmacies, stores, supermarkets, restaurants and parks near his home in New

       Jersey, and near his former home in New York, where he lived for decades, and where his

       son and friends still live.


      Insufficient Parking Access and/or No Area for Drop-Offs at the Subject Facility

    73. The parking lot of the Subject Facility has 14 parking spaces.

    74. The parking lot of the Subject Facility has one accessible parking space, which is so

       designated by blue marking lines on pavement, as well as by the handicapped symbol

       painted on the ground.

    75. The parking lot of the Subject Facility has one access aisle.

    76. The parking lot of the Subject Facility has no van-accessible parking space.




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    77. In March 2020, the Plaintiff came to the Defendants’ Subject Facility by car with his son.

    78. The Plaintiff and his son parked in the handicapped parking space in its parking lot.

    79. The Plaintiff’s son placed the wheelchair in the access aisle.

    80. The wheelchair rolled down the steep slope of the access aisle.

    81. When the Plaintiff was transferring from the car to the wheelchair, he barely avoided falling

       on the steep surface of the access aisle.

    82. The Plaintiff was then not able to move the wheelchair by rotating its wheels, because the

       access aisle is too steep.

    83. Consequently, the Plaintiff had to rely on his son’s assistance to push him, in his

       wheelchair, up the access aisle.

    84. The Plaintiff was then not able to open the door of the restaurant, because the tension of

       the door’s spring is too high.

    85. The Plaintiff had to rely on his son’s assistance to open the restaurant’s door for him.

    86. Inside of the restaurant, Dunkin’ Donuts, when the Plaintiff was paying for the items he

       was purchasing at the register, he was not able to extend his knees and toes under the

       counter, because there was no space under it for his knees and toes.

    87. As a result, the Plaintiff had to rely on his son’s assistance to hand his debit card to the

       cashier.

    88. When the Plaintiff was exiting the restaurant, he was not able to push open the door,

       because the spring’s tension is too high.

    89. The Plaintiff had to rely on his son’s assistance to open the restaurant’s door for him.




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    90. On the way back to the car, the Plaintiff was not able to control the wheelchair’s movement

       with his hands, by holding its wheels, because the slope of the access aisle is impermissibly

       steep.

    91. Consequently, the Plaintiff had to rely on his son’s assistance to ride to the car’s door.

    92. When the Plaintiff was transferring from the wheelchair to the car in the access aisle, he

       barely avoided falling on its steep surface.

    93. Frustrated, disappointed and humiliated, the Plaintiff left the Subject Facility’s parking lot.

    94. The parking lot of the Subject Facility was designed by the Defendants, who disregarded

       the accessibility requirements of the Plaintiff, and those similarly situated, by failing to

       accommodate him and facilitate his access to the store, or worse, and much more likely,

       designed the parking lot of the Subject Facility with the aim of frustrating his efforts as

       much as possible by way of architectural barriers, making him understand and feel the

       futility of his exertion and patronage of the Subject Facility, and that his patronage of the

       restaurant is neither needed, desired, or welcomed by the Defendants.

    95. The parking lot of the Subject Facility was not designed to accommodate the needs of the

       Plaintiff, and other similarly situated individuals.

    96. The parking lot of the Subject Facility was not constructed to facilitate access to the

       restaurant by the Plaintiff and other similarly situated individuals.


                     The Plaintiff Intends to Return to the Subject Facility

    97. The Subject Facility is located near Midland Beach on Staten Island, along the way from

       the Plaintiff’s home to his son’s home. The Plaintiff enjoys visiting that neighborhood and

       comes there often.

    98. The Defendants’ Subject Facility is conveniently located.



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    99. The Plaintiff intends to visit the Subject Facility, purchase items offered for sale in it, and

       enjoy its services, as soon as the architectural barriers are removed.



                          Violations of Title III in the Subject Facility

    100.       The Plaintiff has difficulties gaining access to the Subject Facility, because of the

       unlawful architectural barriers, and therefore has suffered an injury in fact.

    101.       Since at least March 2020, the Defendants have engaged in unlawful practices in

       violation of the ADA, the New York State Civil laws, and the New York State and City

       Human Rights laws.

    102.       The Plaintiff has difficulties visiting the Defendants’ Subject Facility, continues to

       be discriminated against due to the architectural barriers, which remain at the Subject

       Facility, all in violation of the ADA, the New York State Civil Rights laws, and the New

       York State and New York City Human Rights laws.

    103.       The barriers to access the Subject Facility have effectively denied the Plaintiff

       ability to visit the property and have caused him personal injuries, including, but not limited

       to, pain of body and mind, emotional distress, embarrassment, humiliation and frustration.

    104.       Because the Subject Facility is a public accommodation, the Defendants are

       responsible for complying with ADA 28 C.F.R. §36.304.

    105.       The numerous architectural barriers to access the Subject Facility have endangered

       the Plaintiff’s safety.

    106.       The Defendants’ Subject Facility violates 42 U.S.C. §12181, §12182, §12183,

       §12204 of the ADA, 28 C.F.R. §36.302 and §36.304.




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    107.        The Department of Justice (“DOJ”) published revised regulations for Title III of

       the ADA in the Federal Register on September 15, 2010. “These regulations adopted

       revised, enforceable accessibility standards called the 2010 ADA Standards for Accessible

       Design, ‘2010 Standards’”. (See, 2010 Standards, Overview) These standards “set

       minimum requirements – both scoping and technical – for newly designed and constructed,

       or altered … public accommodation, and commercial facilities to be readily accessible to

       and usable by individuals with disabilities.” Id. The DOJ provided that document in one

       publication and it includes the 2010 Standards for public accommodation and commercial

       facilities, which consist of the Title III regulations at 28 C.F.R. Part 36, subpart D, and the

       2004 ADAAG at 36 C.F.R. Part 1191, appendices B and D.

    108.        The Defendants are discriminating against the Plaintiff, and others similarly

       situated, because at their Subject Facility they are denying him access to, as well as full

       and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

       accommodations of the building, and its parking lot, by means of the architectural barriers,

       the existence of which is in violation of the ADA, including, but not limited to, those listed

       below.

    109.        “Identification. Parking space identification signs shall include the International

       Symbol of Accessibility complying with 703.7.2.1. Signs identifying van parking spaces

       shall contain the designation “van accessible.” Signs shall be 60 inches (1525 mm)

       minimum above the finish floor or ground surface measured to the bottom of the sign.” See

       2010 Standards §502.6.

    110.        The handicapped parking space identification sign is located 52 inches above the

       ground surface, measured to the bottom of the sign.



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    111.       “Van Parking Spaces. For every six or fraction of six parking spaces required by

       §208.2 to comply with §502, at least one shall be a van parking space complying with

       §502.” See 2010 Standards §208.2.4.

    112.       The Defendants failed to place a handicapped parking space for a van in the Subject

       Facility’s parking lot.

    113.       “Vehicle Spaces. Car parking spaces shall be 96 inches (2440 mm) wide minimum

       and van parking spaces shall be 132 inches (3350 mm) wide minimum, shall be marked to

       define the width, and shall have an adjacent access aisle complying with §502.3.

       EXCEPTION: Van parking spaces shall be permitted to be 96 inches (2440 mm) wide

       minimum where the access aisle is 96 inches (2440 mm) wide minimum.” See 2010

       Standards §502.2.

    114.       The designated handicapped parking space at the Subject Facility is 107 inches

       wide.

    115.       The designated access aisle at the Subject Facility is 60 inches wide.

    116.       There is no handicapped parking space at the Subject Facility’s parking lot, which

       complies with the width requirements for a van handicapped parking space.

    117.       The designated accessible parking space, in combination with the access aisle, fail

       to comply with the minimum width requirements under §502.2 of the 2010 Standards.

    118.       There is no handicapped van parking space in the parking lot of the Defendants’

       Subject Facility.

    119.       “Floor or Ground Surfaces. Access aisles are required to be nearly level in all

       directions to provide a surface for wheelchair transfer to and from vehicles. The exception

       allows sufficient slope for drainage. Built-up curb ramps are not permitted to project into



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       access aisles and parking spaces because they would create slopes greater than 1:48.” See

       2010 Standards, §502.4 & Advisory.

    120.       “Floor or Ground Surfaces. Parking spaces and access aisles serving them shall

       comply with 302. Access aisles shall be at the same level as the parking spaces they serve.

       Changes in level are not permitted. EXCEPTION: Slopes not steeper than 1:48 shall be

       permitted.” See 2010 Standards §502.4.

    121.       Thus, maximum permissible slopes of handicapped parking spaces and access

       aisles serving them must not be steeper than 2.08%. See 2010 Standards §502.4.

    122.       The Defendants grossly violated §502.4 of 2010 Standards.

    123.       The designated handicapped parking space has a slope of 7%, which is equivalent

       to the slope steepness of 1:14.29.

    124.       The designated handicapped access aisle has a slope of 5.8%, which is equivalent

       to the slope steepness of 1:17.24.

    125.       “Door and Gate Opening Force. Fire doors shall have a minimum opening force

       allowable by the appropriate administrative authority. The force for pushing or pulling

       open a door or gate other than fire doors shall be as follows: 1. Interior hinged doors and

       gates: 5 pounds (22.2 N) maximum.” See 2010 Standards §404.2.9.

    126.       8 pounds of force are required for pushing or pulling open the main exterior hinged

       door at the Subject Facility, on the left side of the restaurant, as one enters the restaurant.

    127.       12 pounds of force are required for pushing or pulling open the right exterior hinged

       door at the Subject Facility, on the right side of the restaurant, as one enters the restaurant.

    128.       “Forward Approach. A portion of the counter surface that is 30 inches (760 mm)

       long minimum and 36 inches (915 mm) high maximum shall be provided. Knee and toe



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       space complying with 306 shall be provided under the counter. A clear floor or ground

       space complying with 305 shall be positioned for a forward approach to the counter.” See

       2010 Standards §904.4.2.

    129.      Knee and toe spaces are not provided under the counter in the restaurant at the

       Subject Facility.

    130.      The individual Plaintiff, and all others similarly situated, will continue to suffer

       discrimination and injury without the immediate relief provided by the ADA, as requested

       herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection

       of the Defendants’ Subject Facility in order to measure and photograph architectural

       barriers that are in violation of the ADA to determine all of the areas of non-compliance

       with the law.


    131.      The Defendants have failed to remove architectural barriers to accessibility to the

       Subject Facility in violation of 42 U.S.C. §12182(b)(2)(A)(iv).

    132.      Upon information and belief, since 1992, the Defendants have altered the areas in

       their Subject Facility, which affect, or could affect, access to or usability of their place of

       public accommodation.

    133.      The Subject Facility has not been designed, constructed, altered, or maintained in

       compliance with the accessibility standards of Title III of the ADA.

    134.      The Defendants have violated their statutory obligation to ensure that their policies,

       practices and procedures address compliance with the 2010 Standards in that they did not

       make reasonable accommodations for the individual Plaintiff, and all others similarly

       situated, and also violated their obligation to remove architectural barriers in order to let




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       disabled individuals enjoy goods and services provided by the public accommodation

       under their control, thus discriminating against them.

    135.      To date, the architectural barriers, the removal of which was, and is, readily

       achievable, and other violations of the ADA, still exist at the Subject Facility and have not

       been remedied, or altered, in such a way as to effectuate compliance with the provisions of

       the ADA.

    136.      Pursuant to the ADA, 42 U.S.C. §12101, §12182, and 28 C.F.R. §36.304, the

       Defendants were required to make their Subject Facility accessible to persons with

       disabilities, and should have removed architectural barriers by January 26, 1992. To date,

       the Defendants have failed to comply with that mandate.

    137.      The Defendants’ failure to remove the barriers to access constitutes a pattern and

       practice of intentional disability discrimination and is subject to enforcement under 42

       U.S.C. §12188 and 28 C.F.R. §503.

    138.      It was not structurally impracticable for the Defendants to make the Subject Facility

       accessible.

    139.      Removal of all architectural barriers existing at the Subject Facility was, and is,

       readily achievable by the Defendants.

    140.      The Defendants may, should and are required to make reasonable accommodations

       at the Subject Facility and their making them would be readily achievable.

    141.      Accommodations to the Plaintiff, and other persons similarly situated, and removal

       of architectural barriers at the Subject Facility by the Defendants, are readily achievable,

       would not impose an undue hardship on them and would not fundamentally alter the nature

       of their program, activity, or nature of the business.



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    142.      The Plaintiff has a realistic, credible, existing and continuing threat of

       discrimination from the Defendants’ non-compliance with the ADA in connection with the

       Subject Facility.

    143.      The Defendants’ failure to make their Subject Facility accessible denied the

       Plaintiff and others, similarly situated, an equal opportunity to participate in, or to benefit

       from, services, or accommodations, on the basis of their disability.

    144.      The effect of the practices complained of has been to deprive the Plaintiff, and all

       other similarly situated individuals, of the full and equal enjoyment of the Subject Facility

       and to otherwise adversely affect his status as a member of the public interested in

       accessing the place of public accommodation owned, leased, leased to, constructed,

       maintained, managed and/or operated by the Defendants.

    145.      The Defendants’ Subject Facility is not accessible to, or readily usable by,

       individuals with disabilities.

    146.      Pursuant to 42 U.S.C. §12188, this Court was vested with the authority to grant the

       Plaintiff injunctive relief, including an order to alter the Subject Facility, to make it

       accessible to, and useable by, the Plaintiff, and other similarly situated individuals with

       disabilities, to the extent required by the ADA, as well as close the Subject Facility until

       the required modifications are completed.

    147.      The Defendants’ flagrant disregard for the ADA, and the New York laws, which

       obligate them to make all readily achievable accommodations and modifications to remove

       architectural barriers to access and use of their Subject Facility is legally inexcusable.

       Allowing the Defendants to deleteriously detrimentally prolong their practices would

       encourage them to continue to blatantly disregard the ADA, the New York State Civil laws,



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       and the New York State and City Human Rights laws, and discriminate against the

       Plaintiff, and other similarly situated individuals.

    148.       The inexcusability of the Defendants’ actions is exacerbated by the fact that over

       25 years have passed since the effective date of Title III of the ADA. During that time

       period they operated at a profit, should have accumulated sufficient funds to make

       alterations and had numerous opportunities to remove the architectural barriers and end

       discrimination, but intentionally chose not to do so. By intentionally not removing the

       architectural barriers, which barred the Plaintiff’s access, inconvenienced and embarrassed

       him, humiliated him and caused him personal injuries, including emotional distress to him,

       and others similarly situated, the Defendants gave a crystal-clear message to disabled

       customers that their patronage is neither needed, desired, welcomed, or wanted.



                                 SECOND CAUSE OF ACTION


                    Violations of the New York State Human Rights Laws


    149.       The Plaintiff re-alleges, and incorporates, by this reference, all the allegations set

       forth in this complaint, as if fully set forth herein.



    150.       The New York State Human Rights Law, in relevant part, provides the following:

                       It shall be an unlawful discriminatory practice for any
                       person, being the owner, lessee, proprietor, manager,
                       superintendent, agent or employee of any place of public
                       accommodation … because of the … disability … of any
                       person, directly or indirectly, to refuse, withhold from or
                       deny to such person any of the accommodations, advantages,
                       facilities or privileges thereof … to the effect that any of the
                       accommodations, advantages, facilities and privileges of any


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                       such place shall be refused, withheld from or denied to any
                       person on account of … disability … .

               NYS Executive Law §296(2)(a)

    151.       The Defendants’ Subject Facility is a place of public accommodation, as defined in

       New York State Human Rights Law §292(9).

    152.       The Defendants have further violated the New York State Human Rights Law by

       being in violation of the rights provided under the ADA.

    153.       The Defendants are in violation of the New York State Human Rights Law by

       denying the Plaintiff, and others similarly situated, full and safe access to all of the benefits,

       accommodations and services of the Subject Facility.

    154.       The Defendants do not provide the Plaintiff, and others similarly situated, with

       equal opportunity to use their public accommodation.

    155.       The Defendants have failed to make all readily achievable accommodations and

       modifications to remove barriers to access in violation of Executive Law §296(2)(c)(iii).

    156.       As a direct and proximate result of the Defendants’ unlawful discrimination, which

       is in violation of the Executive Law, the Plaintiff has suffered, and continues to suffer,

       personal injuries, which include emotional distress, including, but not limited to,

       humiliation, embarrassment, stress and anxiety.

    157.       The Defendants have not provided the Plaintiff, and others similarly situated, with

       evenhanded treatment in violation of New York State Human Rights Law §296.

    158.       The Defendants’ direct, or indirect, unequal treatment of the Plaintiff, and others

       similarly situated, was demonstrated when he was discriminated against.




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    159.       The Defendants have, because of the Plaintiff’s disability, directly, or indirectly,

       refused, withheld from, or denied him the accommodations, advantages, facilities, or

       privileges of their public accommodation.

    160.       The Defendants have demonstrated that the patronage, or custom, of the Plaintiff,

       and other similarly situated individuals, is unwelcome, unwanted, undesirable,

       unacceptable and objectionable.

    161.       In violation of the New York State Human Rights Law, the Defendants and their

       agents discriminated against the Plaintiff.

    162.       As a direct and proximate result of the Defendants’ unlawful discrimination, which

       was, and is, in violation of the New York State Human Rights Law, the Plaintiff has

       suffered, and continues to suffer, personal injuries, such as mental anguish and emotional

       distress, including, but not limited to, depression, humiliation, stress, embarrassment,

       anxiety, loss of self-esteem and self-confidence, together with emotional pain and

       suffering.

    163.       The Plaintiff requests compensatory damages from each Defendant in the amount

       of $1,000 under the New York State Human Rights Law, NY CLS Exec §297(9).



                                  THIRD CAUSE OF ACTION

                      Violations of the New York State Civil Rights Laws

    164.       The Plaintiff re-alleges, and incorporates by this reference, all the allegations set

       forth in this complaint, as if fully set forth herein.

    165.       The Defendants have violated the Plaintiff’s civil rights on the basis of his

       disability.



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    166.       Consequently, the Plaintiff is entitled to recover the penalty prescribed by New

       York State Civil Rights Law §40-c and §40-d, in the amount of $500 for each violation

       from each Defendant.

    167.       Pursuant to New York State Civil Rights Law §40-d, the Defendants are guilty of

       a class A misdemeanor.

    168.       Notice of this action is being served upon the attorney general, as required by New

       York Civil Rights Law, §40-d, in accordance with the statute.



                                 FOURTH CAUSE OF ACTION

                     Violations of the New York City Human Rights Law

    169.       The Plaintiff re-alleges, and incorporates by this reference, all the allegations set

       forth in this complaint, as if fully set forth herein.

    170.       The New York City Human Rights Law, in relevant part, provides the below.

                       It shall be an unlawful discriminatory practice for any person
                       who is the owner, franchisor, franchisee, lessor, lessee,
                       proprietor, manager, superintendent, agent or employee of
                       any place or provider of public accommodation:
                                1. Because of any person’s actual or perceived …
                                disability …, directly or indirectly:
                                        (a) to refuse, withhold from or deny to such
                                        person the full and equal enjoyment, on equal
                                        terms and conditions, of any of the
                                        accommodations, advantages, services,
                                        facilities or privileges of the place or provider
                                        of public accommodation;

               NYC Admin. Code §8-107(4)




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    171.       The Defendants have not reasonably accommodated the Plaintiff, and other

       disabled individuals, in violation of New York City’s Administrative Code §8-102(4), (16),

       (17), (18), §8-107(4) and §8-107(15).

    172.       In violation of the New York City Administrative Code, the Defendants have

       unlawfully discriminated against the Plaintiff and all others similarly situated.

    173.       Reasonable accommodations and modifications are necessary to enable the

       Plaintiff, and all others similarly situated, the ability to enjoy non-restricted access and use

       of the Defendants’ Subject Facility.

    174.       In violation of the New York City Administrative Code the owners, operators,

       lessees, proprietors, managers, agents and/or employees of the Defendants’ Subject

       Facility have, because of the actual, or perceived, disability of the Plaintiff directly, or

       indirectly, refused, withheld from, and denied him the accommodations, advantages,

       facilities, or privileges thereof.

    175.       In violation of the New York City Administrative Code, on the basis of the

       Plaintiff’s disability, the Defendants have demonstrated that the patronage, or custom, of

       the Plaintiff, and all others similarly situated, is unwelcome, objectionable and not

       acceptable.

    176.       The Defendants are in violation of the New York City Human Rights Law by

       denying the Plaintiff full and safe access to all of the benefits, accommodations and

       services of the Subject Facility.

    177.       Pursuant to New York City Human Rights Law §8-502(c), notice of this action is

       being served upon the New York City Commission on Human Rights in accordance with

       the statute.



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    178.      As a direct and proximate result of the Defendants’ disability discrimination, in

       violation of the New York City Human Rights Law, the Plaintiff has suffered, and

       continues to suffer, personal injuries, including mental anguish and emotional distress,

       including, but not limited to, depression, humiliation, stress, embarrassment, anxiety, loss

       of self-esteem and self-confidence, emotional pain and suffering.

    179.      The Plaintiff requests compensatory damages in the amount of $1,000 from each

       Defendant under the New York City Human Rights Law, NYC Admin. Code §8-125.



                             ATTORNEY’S FEES AND COSTS

    180.      The Plaintiff had to retain the undersigned counsel for the filing and prosecution of

       this action. The Plaintiff is entitled to have his reasonable attorney’s fees, including

       litigation expenses, and costs, including expert fees, paid by the Defendants, pursuant to

       the ADA, 28 C.F.R. §36.505 and New York Executive Law §297(10). Furthermore,

       pursuant to the New York City Human Rights Law, the Court may award the prevailing

       party reasonable attorney’s fees. Under that law’s definition “prevailing” includes a

       Plaintiff, whose commencement of litigation has acted as a catalyst to effect policy change

       on the part of the defendant. NYCHRL, in pertinent part, states the below.

                      In any civil action commenced pursuant to this section, the
                      Court, in its discretion, may award the prevailing party
                      reasonable attorney’s fees, expert fees and other costs. For
                      the purposes of this subdivision, the term “prevailing”
                      includes a Plaintiff whose commencement of litigation has
                      acted as a catalyst to effect policy change on the part of the
                      defendant, regardless of whether that change has been
                      implemented voluntarily, as a result of a settlement or as a
                      result of a judgment in such Plaintiff’s favor. The Court shall
                      apply the hourly rate charged by attorneys of similar skill
                      and experience litigating similar cases in New York County



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                       when it chooses to factor the hourly rate into the attorney’s
                       fee award.

                NYC Admin. Code §8-502(g)

           COMPENSATORY AND STATUTORY MONETARY DAMAGES

    181.        The Plaintiff requests compensatory damages in the amount of $1,000 from each

       Defendant under the New York State Human Rights Law, NY CLS Exec §297(9) and the

       New York City Human Rights Law, NYC Admin. Code §8-125.

                       In calculating compensatory damages under the NYSHRL
                       and the NYCHRL, a Court in the Southern District of New
                       York just a few months ago found relevant the fact that ‘[t]he
                       New York City Human Rights Commission has deemed
                       awards of $1,000 to be sufficient in cases where
                       complainants did not establish any particular damage ‘other
                       than what a decent and reasonable individual would suffer
                       when faced with such ignorant behavior.’

       Shalto v. Bay of Bengal Kabob Corp., 2013 WL 867429, (quoting and adapting Kreisler,
       2012 WL 3961304, at *14)

    182.        The Plaintiff requests statutory monetary damages in the sum of $500 from each

       Defendant to compensate him for their violation of New York Civil Rights Law §40-c and

       §40-d.

                       New York Civil Rights Law §40-c holds that any person
                       [emphasis added] who shall violate any of the provisions of
                       New York Civil Rights Law §40-d ‘shall for each and every
                       violation thereof be liable to a penalty of not less than one
                       hundred dollars nor more than five hundred dollars, to be
                       recovered by the person aggrieved thereby in any Court of
                       competent jurisdiction in the county in which the defendant
                       shall reside. … [T]his Court has the authority to order
                       Defendant to pay Plaintiff the $500 in statutory damages
                       contemplated by the New York Civil Rights Law for the
                       disability discrimination Plaintiff has suffered….


       Shalto v. Bay of Bengal Kabob Corp., 2013 WL 867429



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    183.      The reason the Plaintiff requests $500 from each Defendant, and not a lower

       amount envisioned by the statutes, is due to the high number and extent of the violations,

       which were alleged in detail in this complaint. Furthermore, the number of violations may

       be even greater, and they may be even more extensive, than those alleged here and it is

       likely that they will be revealed upon inspection of the Subject Facility by an expert.



                                     PUNITIVE DAMAGES

    184.      The Plaintiff requests punitive damages from each Defendant to compensate him

       for their violation of the New York City Human Rights Law.

                      With respect to punitive damages, “the standard for
                      determining damages under the NYCHRL is whether the
                      wrongdoer has engaged in discrimination with willful or
                      wanton negligence, or recklessness, or a ‘conscious
                      disregard of the rights of others or conduct so reckless as to
                      amount to such disregard.’” Chauca v. Abraham, 885 F.3d
                      122, 124 (2d Cir. 2018) (quoting Chauca v. Abraham, 30
                      N.Y.3d 325, 67 N.Y.S.3d 85, 89 N.E.3d 475, 481 (N.Y.
                      2017)). This standard requires “a lower degree of
                      culpability” than is required for punitive damages under
                      other statutes, as it “requires neither a showing of malice nor
                      awareness of the violation of a protected right.” Id. (quoting
                      Chauca, 89 N.E.3d at 481).

       Kreisler v. Humane Soc’y of N.Y., 2018 U.S. Dist. LEXIS 171147



                                     INJUNCTIVE RELIEF

    185.      Pursuant to 42 U.S.C. §12188 this Court is vested with the authority to grant the

       Plaintiff injunctive relief, including an order to alter the Subject Facility to make it readily

       accessible to, and useable by, individuals with disabilities to the extent required by the

       ADA, the New York State Civil Rights Law, the New York State Human Rights Law, the



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       New York City Human Rights Law and close the Subject Facility until the requisite

       modifications are completed.

    186.      The Plaintiff requests the Court to issue a permanent injunction enjoining the

       Defendants from disability discrimination.

    187.      The Plaintiff requests the Court to issue a permanent injunction and order the

       Defendants to alter their Subject Facility to make it readily accessible to and usable by

       individuals with disabilities. To achieve that, the Plaintiff requests the Court to adapt relief

       ordered in Shariff v. Alsaydi, 2013 WL 4432218. The Plaintiff requests the Court to order

       the Defendants to prepare architectural plans remedying the violations of the 2010

       Standards and to provide the Plaintiff’s counsel with those plans for review within 60 days

       of the Court’s order. The Plaintiff also requests that the injunction provide him with 30

       days to file a motion seeking relief should the Defendants’ proposed architectural plans be

       inadequate to remedy the 2010 Standards violations specified in this complaint. The

       Plaintiff further requests that the injunction requires the Defendants to implement the

       architectural plans and remedy the violations within 60 days of either the Plaintiff’s

       agreement, or a ruling by the Court stating that the plans are adequate.

    188.      The Plaintiff requests the Court to issue a permanent injunction requiring the

       Defendants to make all necessary modifications to the Defendants’ policies, practices and

       procedures, so that the Plaintiff, and other persons similarly situated, would not be subject

       to further unlawful discrimination.

    189.      Injunctive relief is also necessary to order the Defendants to provide auxiliary aid,

       or service, and/or alternative methods, to allow the Plaintiff, and others similarly situated,




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         to use the place of public accommodation in accordance with Title III of the ADA, the New

         York State Civil Rights Laws, and the New York State and City Human Rights Laws.



                                     DECLARATORY RELIEF

    190.         The Plaintiff is entitled to declaratory relief for the violations committed by the

         Defendants, specifying the rights of the Plaintiff, and other persons similarly situated, as

         to the removal of the architectural barriers from the Subject Facility by the Defendants, and

         as to their policies, practices, procedures, facilities, goods and services.



                                       PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff hereby respectfully demands judgment against the

 Defendants, jointly and severally, and requests that this Court:

    A.       Certify this case as a class action;

    B.       Grant a permanent injunction

             i.) Enjoining the Defendants, their officers, management personnel, employees,

                 agents, successors and assigns from engaging in discrimination based on disability;

             ii.) Requiring the Defendants to alter their Subject Facility to make it readily accessible

                 to, and usable for, individuals with disabilities;

             iii.) Compelling the Defendants to make all necessary modifications to their policies,

                 practices and procedures, so that the Plaintiff would not be subject to further

                 discrimination;

             iv.) Ordering the Defendants to provide auxiliary aids and services, as well as to modify

                 their policies, or procedures, or provide an alternative method, so that the Plaintiff



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             would be able to obtain the full and equal enjoyment of the Subject Facility owned,

             operated, maintained, or leased, by the Defendants, in accordance with Title III of

             the ADA, the New York State Civil Rights Laws, and the New York State and City

             Human Rights Laws; and

          v.) Ordering the Defendants to make the Subject Facility readily accessible to and

             usable by individuals with disabilities.

    C.    Enter declaratory judgment specifying the Defendants’ violations of the ADA, the New

          York State Civil laws, the New York State and City Human Rights laws, and declare

          the rights of the Plaintiff, and other persons similarly situated, as to the Defendants’

          policies, procedures, facilities, goods and services offered to the public;

    D.    Enter declaratory judgment specifying that the Subject Facility owned, operated,

          leased, controlled, maintained and/or administered by the Defendants violates the

          ADA, the New York State Civil Rights Law, and the New York State and City Human

          Rights laws;

    E.    Enter an order requiring the Defendants to alter their Subject Facility and amenities to

          make it accessible to, and usable by, individuals with disabilities to the full extent

          required by Title III of the ADA, the New York State Civil Rights Law, and the New

          York State and City Human Rights laws;

    F.    Hold each of the Defendants liable for $500 in statutory monetary damages for each

          violation and awards that sum to the Plaintiff pursuant to the New York State Civil

          Rights Laws §40-c and §40-d;

    G.    Hold each of the Defendants liable for compensatory damages in the amount of $1,000

          under the New York State and City Human Rights laws.



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    H.      Hold each of the Defendants liable for punitive damages for their violation of the New

            York City Human Rights Law.

    I.      Find the Defendants guilty of class A misdemeanor pursuant to New York State Civil

            Rights Law §40-d;

    J.      Retain its jurisdiction over the Defendants until their unlawful practices, acts and

            omissions no longer exist;

    K.      Find that the Plaintiff is a prevailing party in this litigation and award attorney’s fees,

            expert fees, costs and expenses, together with such other and further relief at law, or in

            equity, to which the Plaintiff, and other persons similarly situated, may be entitled; and

    L.      Award such other and further relief as it deems necessary, just and proper.



                                         JURY DEMANDED

 The Plaintiff demands a trial by jury of all the issues of fact and damages.



 Signed: April 1, 2020



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